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                                                  Gala Group Corporate
                                                  Gala Group Corporate Structure
                                                                       Structure




                                                         Gala Holding
                                                         Gala Holding GmbH
                                                                      GmbH



                                                                   100%
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                                                              GALA
                                                              GALA GROUP
                                                                   GROUP
                                                                 GmbH
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 Ramesh
 Ramesh Flowers
           Flowers                                                        Gala Candles
                       GALA
                       GALA Germany GmbH
                                    GmbH      GALA Hungary
                                                   Hungary Kft.
                                                           Kft.                                     GG BRANDS
                                                                                                       BRANDS GmbH
                                                                                                              GmbH   GALA
                                                                                                                     GALA Poland
                                                                                                                          Poland Sp.
                                                                                                                                 Sp. z.o.o.
                                                                                                                                     z.o.o.
  Private Limited
  Private Limited                                                           UK
                                                                             UK Ltd.
                                                                                Ltd.


          100%
          100%                                                                                                                   100%
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Flora Classique Inc.
Flora           Inc.                                                                                                 GALA
                                                                                                                     GALA North
                                                                                                                          North America
                                                                                                                                America Inc
                                                                                                                                        Inc
